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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


MARIETTA SCHEER,
                                                         Case No. 6:15-cv-6488
                       Plaintiff,

               -against-                                 COMPLAINT

COMENITY LLC d/b/a Comenity Bank,

                       Defendant.



       NOW COMES Plaintiff, Marietta Scheer ("Plaintiff"), by and through her attorneys,

Krohn & Moss, Ltd., for her Complaint against Defendant, Comenity LLC d/b/a Comenity Bank

("Defendant"), alleges as follows:

                                        Nature of the Action

       1.      This action is brought by Plaintiff pursuant to the Telephone Consumer Protection

Act (“TCPA”), 47 U.S.C. § 227 et seq.

                                               Parties

       2.      Plaintiff is a natural person residing in Corning, New York in Steuben County.

       3.      Defendant is a business entity incorporated in Delaware with headquarters in

Columbus, Ohio.

       4.      Defendant acted though its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers.

                                       Jurisdiction and Venue

       5.      Jurisdiction of this court arises pursuant to 28 U.S.C. § 1331 and 47 U.S.C. § 227.
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         6.     Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) as the acts and transactions

giving rise to this action occurred in this district as Plaintiff resides in this district and Defendant

transactions business in this district.

                                          Factual Allegations

         7.     Around October 2014, Defendant began placing calls to (607) 684-13xx,

Plaintiff’s cellular telephone.

         8.     Upon information and good faith belief, based on the frequency, number, nature

and character of these calls, Defendant placed them by using an automatic telephone dialing

system.

         9.     These calls were to attempt to collect payments for the purchase of goods and/or

services.

         10.    These calls were for non-emergency purposes.

         11.    In October 2014, Plaintiff received a call from Defendant and instructed

Defendant, through its employee, representative, or agent, to stop calling her.

         12.    Plaintiff revoked any consent, express or otherwise, for Defendant to use an

automatic telephone dialing system to call her cell phone.

         13.    Defendant continued to use an automatic telephone dialing system to call

Plaintiff’s cell phone.

         14.    Between October 26, 2014 and March 14, 2015, Defendant used an automatic

telephone dialing system to call Plaintiff’s cellular telephone at least five hundred twenty (520)

times.

         15.    Defendant called Plaintiff multiple times per day.




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         16.    Defendant willfully and voluntarily used an automatic telephone dialing system to

place these calls.

         17.    Defendant intended to use an automatic telephone dialing system to place these

calls.

         18.    Defendant did not have Plaintiff’s express consent to use an automatic telephone

dialing system to place these calls.

                                      CLAIM FOR RELIEF
                                Telephone Consumer Protection Act

         19.    Defendant’s actions alleged supra constitute numerous negligent violations of the

TCPA, entitling Plaintiff to an award of $500.00 in statutory damages for each and every

violation pursuant to 47 U.S.C. § 227(b)(3)(B).

         20.    Defendant’s actions alleged supra constitute numerous and multiple knowing

and/or willful violates of the TCPA, entitling Plaintiff to an award of $1500.00 in statutory

damages for each and every violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §

227(b)(3)(C).

         WHEREFORE, Plaintiff prays that judgment be entered against Defendant for the

following:

         (1) Statutory damages of $500.00 for each and every negligent violation of the TCPA

pursuant to 47 U.S.C. § (b)(3)(B);

         (2) Statutory damages of $1500.00 for each and every knowing and/or willful violation

of the TCPA pursuant to 47 U.S.C. § (b)(3)(b) and 47 U.S.C. § (b)(3)(C);

         (3) All court costs, witness fees and other fees incurred; and

         (4) Awarding such other and further relief as may be just, proper and equitable.




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                                         KROHN & MOSS, LTD.


Dated: August 14, 2015                   /s/ Shireen Hormozdi___________
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